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   1   HARIRI LAW GROUP
       Ramin R. Hariri (SBN: 251625)
   2   12707 High Bluff Drive, Ste. 200
       San Diego, CA 92130
   3   Phone: (619) 363-2889
       Fax: (619) 810-0791
   4   Email: ramin@haririlaw.com
   5   KHASHAYAR LAW GROUP
       Daryoosh Khashayar, Esq. (SBN 236496)
   6   12636 High Bluff Dr., Ste. 400
       San Diego, California 92130
   7   Phone: (858) 509-1550 / Fax: (858) 509-1551
   8   Email: daryoosh@mysdlawyers.com
       Attorneys for Plaintiffs
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  10
  11                       UNITED STATES DISTRICT COURT
  12                    SOUTHERN DISTRICT OF CALIFORNIA
  13
  14   PLAINTIFFS ANDRE VERDUN;               CASE NO. 19-cv-0839-AJB-WVG
  15   IAN ANOUSH GOLKAR, on behalf
       of themselves and a class of all       NOTICE OF APPEAL AND
  16   others similarly situated,             REPRESENTATION STATEMENT
  17
                   Plaintiffs,
  18
          VS.                                 Judge:     Hon. Anthony J. Battaglia
  19
  20   CITY OF SAN DIEGO; SAN                 Complaint Filed: May 3, 2019
  21   DIEGO POLICE DEPARTMENT;
       DOES 1-130, inclusive
  22
  23               Defendants.

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                 NOTICE OF APPEAL AND REPRESENTATION STATEMENT
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   1     NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS
   2        FOR THE NINTH CIRCUIT AND ALL INTERESTED PARTIES

   3         Notice is hereby given that Plaintiffs Andre Verdun and Ian Anoush Golkar,
   4
       on behalf of themselves and a class of all others similarly situated in the above
   5

   6   named, case hereby appeal to the United States Court of Appeals for the Ninth

   7   Circuit from the Judgment of the District Court of the Southern District of
   8
       California, granting Defendants’ Motion for Summary Judgment (Doc. #39), and
   9

  10   the final judgment order entered on January 4, 2021. (Doc #40).
  11

  12
       Dated: January 19, 2021                         HARIRI LAW GROUP
  13                                                   KHASHAYAR LAW GROUP
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  15
                                                       By:               _________
  16                                                         Ramin Hariri, Esq.
                                                             Daryoosh Khashayar, Esq.
  17                                                         Attorneys for Plaintiffs
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                  NOTICE OF APPEAL AND REPRESENTATION STATEMENT
Case 3:19-cv-00839-AJB-WVG Document 41 Filed 01/19/21 PageID.1438 Page 3 of 4



   1         NINTH CIRCUIT RULE 3-2 REPRESENTATION STATEMENT
   2
             The names of all parties to the judgment, order, or decree appealed from and
   3
   4   the names, addresses, and telephone numbers of their respective attorneys are as

   5   follows:
   6
       ATTORNEYS FOR DEFENDANTS / APPEALEES,
   7   CITY OF SAN DIEGO; SAN DIEGO POLICE DEPARTMENT
   8   MARA W. ELLIOTT, City Attorney
       GEORGE F. SCHAEFER, Assistant City Attorney
   9   MEGHAN ASHLEY WHARTON, Senior Deputy City Attorney
       (SBN 250498)
  10   Office of the San Diego City Attorney
  11
       1200 Third Avenue, Ste. 1100
       San Diego, California 92101-4100
  12   Phone: (619) 533-5800
       Fax: (619) 533-5856
  13   Email: mwharton@sandiego.gov
  14   [PLEASE ENSURE THAT YOU ARE REGISTERED FOR APPELLATE
  15   ELECTRONIC FILING IN THE 9TH CIRCUIT AT
       http://www.ca9.uscourts.gov/cmecf#section-registration ]
  16

  17   ATTORNEYS FOR PLAINTIFFS / APPELLANTS, ANDRE VERDUN; IAN
       ANOUSH GOLKAR
  18
       HARIRI LAW GROUP
  19   Ramin R. Hariri (SBN: 251625)
       12707 High Bluff Drive, Ste. 200
  20   San Diego, CA 92130
       Phone: (619) 363-2889
  21   Fax: (619) 810-0791
       Email: ramin@haririlaw.com
  22
       KHASHAYAR LAW GROUP
  23   Daryoosh Khashayar, Esq. (SBN 236496)
       12636 High Bluff Dr., Ste. 400
  24   San Diego, CA 92130
       Phone: (858) 509-1550
  25   Fax: (858) 509-1551
       Email: daryoosh@mysdlawyers.com
  26
       Counsel is registered for Electronic Filing in the 9th Circuit.
  27
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                   NOTICE OF APPEAL AND REPRESENTATION STATEMENT
Case 3:19-cv-00839-AJB-WVG Document 41 Filed 01/19/21 PageID.1439 Page 4 of 4



   1                            CERTIFICATE OF SERVICE
   2         I hereby certify that on January 19, 2021, I electronically filed the foregoing
   3   with the Clerk of the Court using the CM/ECF system which will send notification
   4   of such filing to the e-mail addresses denoted on the Electronic Mail notice list. I
   5   have also sent a copy of the Notice of Appeal and Representation Statement to the
   6   City Attorney representing Defendants at the following email, fax number and

   7   mailing address:

   8
       MARA W. ELLIOTT, City Attorney
   9   GEORGE F. SCHAEFER, Assistant City Attorney
       MEGHAN ASHLEY WHARTON, Senior Deputy City Attorney (SBN 250498)
  10   Office of the San Diego City Attorney
       1200 Third Avenue, Ste. 1100
  11   San Diego, California 92101-4100
       Phone: (619) 533-5800
  12   Fax: (619) 533-5856
       Email: mwharton@sandiego.gov
  13

  14

  15
             I certify under penalty of perjury under the laws of the United States of
  16
       America that the foregoing is true and correct.
  17
             Executed the 19th day of January 2021.
  18

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                                                                       J
                                                     __________________________
                                                            l
  20
                                                               Jennifer Valdez
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                  NOTICE OF APPEAL AND REPRESENTATION STATEMENT
